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                                 UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7
                                          AT SEATTLE
 8
                                                               Case No 2:17-rd-00094
 9            In the Matter of Zenovia Nicole Love
              WSBA No. 45989                                   ORDER OF RECIPROCAL
10                                                             DISCIPLINE

11
              The matter comes before the Court under General Rule 2(f) of the Local Rules of the
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     United States District Court for the Western District of Washington. Thirty days has elapsed
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     since the Court was informed that Zenovia Nicole Love was disbarred by the Washington State
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     Supreme Court; and Zenovia Nicole Love was afforded the opportunity to show good cause
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     within thirty days why Zenovia Nicole Love should not be disbarred; no good cause having been
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     shown;
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              It is ORDERED THAT Zenovia Nicole Love is disbarred from practice before this Court.
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              Dated August 29, 2017.
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22                                                   WALTER T. MCGOVERN
                                                     United States District Judge
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     ORDER OF RECIPROCAL DISCIPLINE
